Case 1:18-cr-00834-PAE Document 710 Filed 07/07/25 Pagelof1
U.S. Department of Justice

United States Attorney
Southern District of New York

The Jacob Javits Federal Building
26 Federal Plaza, 37" Floor
New York, New York 10278

July 3, 2025

BY ECF AND EMAIL

The Honorable Paul A. Engelmayer
Thurgood Marshall

United States Courthouse

40 Foley Square

New York, NY 10007

Re: United States vy. Daniel Hernandez 18 Cr. 834 (PAE)
Dear Judge Engelmayer:

The parties write to provide the Court with an update regarding the above-captioned
defendant’s violation of supervised release (“WOSR”) specifications in advance of the upcoming
July 23, 2025 VOSR hearing. Assuming it is acceptable to the Court, the parties anticipate that at
the upcoming hearing, Hernandez will admit to VOSR Specifications 3 and 4, which are each
Grade C violations, charging him with unlawfully possessing MDMA and cocaine, respectively.
Following his admissions, the Government will move to dismiss Specifications 1 and 2, whereupon
the Government understands that the defendant—with the Government’s consent—will request an
adjournment for sentencing. Because the defendant’s anticipated admissions will obviate the need
for an evidentiary hearing, the Government respectfully requests that its witnesses—who would
otherwise need to travel from Florida to provide testimony—be excused from appearing at the
upcoming July 23 hearing.

Respectfully submitted,

JAY CLAYTON
United States Attorney for the
Southern District of New York

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By:
GRANTED. sppettcn E. Rebold
4/7/2025 ssistant United States Attorney
(212) 637-2512
SO ORDERED.

Fk N. Cogeboy/

PAUL A. ENGELMAYER
United States District Judge

